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 Attorneys for Defendant
 PMAC LENDING SERVICES, INC.

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

     In re

     LEHMAN BROTHERS HOLDINGS, INC.,                          Chapter 11
     et al.,
                   Debtors.                                   Case No. 08-13555 (SCC)


     LEHMAN BROTHERS HOLDINGS, INC.,                          Adv. Proc. No. 18-01353-SCC1

                               Plaintiff,
             -against-

     PMAC LENDING SERVICES, INC.,
     individually and as successor by merger to
     PMC Bancorp, f/k/a Professional Mortgage
     Corp., and as successor by merger to Reliant
     Mortgage Company, LLC, and PMC
     BANCORP, f/k/a Professional Mortgage
     Corp., individually, and RELIANT
     MORTGAGE COMPANY, LLC,
     individually,

                               Defendants.


       DEFENDANTS PMAC LENDING SERVICES, INC. & RELIANT MORTGAGE
      COMPANY, LLC’S ANSWER AND AFFIRMATIVE DEFENSES IN RESPONSE TO
                     PLAINTIFF’S ADVERSARY COMPLAINT




 1
     Defendants do not admit, but do deny, any allegations contained in the headings and caption of LBHI’s complaint.
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        Defendants PMAC Lending Services, Inc. (“PMAC”) and Reliant Mortgage Company,

 LLC (“Reliant” and together “Defendants”) hereby submits the following Answer to the unverified

 Second Amended Adversary Complaint (the “Adversary Complaint”) of Plaintiff Lehman

 Brothers Holdings Inc. (“LBHI” or “Plaintiff”), and Affirmative Defenses.

                                         NATURE OF ACTION

        1.      Paragraph 1 of the Adversary Complaint asserts legal conclusions to which no

 response is required. To the extent a response is required, Defendants deny the allegations in

 Paragraph 1.

        2.      Defendants deny the allegations contained in paragraph 2 of the Adversary

 Complaint. With regard to any representations and warranties made by LBHI to third party

 investors, Defendants deny having knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in paragraph 2 of the Adversary Complaint.

        3.      Paragraph 3 of the Adversary Complaint asserts legal conclusions to which no

 response is required. To the extent a response is required, Defendants deny the allegations in

 Paragraph 3.

        4.      Paragraph 4 of the Adversary Complaint asserts legal conclusions to which no

 response is required. To the extent a response is required, Defendants deny the allegations in

 Paragraph 4.

                                            PARTIES

        5.      Paragraph 5 does not contain any material allegations concerning Defendants and,

 on that basis, Defendants aver that no response is required. To the extent a response is required,

 Defendants admit that LBHI commenced a voluntary case under Chapter 11 of the Bankruptcy

 Code in 2008, but is otherwise without knowledge or information sufficient to form a belief as to
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 the truth or falsity of the remaining allegations contained in Paragraph 5, and on that basis, denies

 them.

         6.      Defendants admit the allegations contained in paragraph 6 of the Adversary

 Complaint.

         7.      Paragraph 7 of the Adversary Complaint asserts legal conclusions to which no

 response is required. To the extent a response is required, Defendants deny the allegations in

 Paragraph 7.

                                     JURISDICTION AND VENUE

         8.      Paragraph 8 does not contain any material allegations concerning Defendants and,

 on that basis, Defendants aver that no response is required. To the extent a response is required,

 Defendants admit that this is an adversary proceeding under the Federal Rules of Bankruptcy

 Procedure 7001 and 7003.

         9.      The jurisdictional allegations contained in paragraph 9 state legal conclusions to

 which no answer is required. To the extent an answer is required, Defendants deny that this Court

 has subject matter jurisdiction over this matter.

         10.     The jurisdictional allegations contained in paragraph 10 state legal conclusions to

 which no answer is required. To the extent an answer is required, Defendants deny that venue is

 proper in this judicial district.

         11.     The jurisdictional allegations contained in paragraph 11 state legal conclusions to

 which no answer is required. To the extent an answer is required, Defendants admit that this Court

 has personal jurisdiction and that Defendant is organized and does business in the United States.
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                                   FACTUAL BACKGROUND

         12.     Defendants deny having information or knowledge sufficient to form a belief as to

 the truth of the allegations contained in paragraph 12.

         13.     Defendants admit that they are or were engaged in the business of mortgage

 origination and the sale of mortgage loans on the secondary market. Defendants deny having

 information or knowledge sufficient to form a belief as to the truth of the allegations concerning

 “[a]t all relevant times.”

     A. The Governing Agreements

         14.     Defendants admit that a Loan Purchase Agreement (“LPA”) was entered into

 between Defendant and LBHI’s assignor, Lehman Brothers Bank (“LBB”). Defendants otherwise

 deny the allegations contained in paragraph 14.

         15.     Defendants admit that Exhibit A to the Adversary Complaint purports to identify

 LPAs and the dates of those agreements. To the extent the allegations of paragraph 15 seek to

 paraphrase or characterize the contents of a written document, the document speaks for itself and

 Defendants deny the allegations to the extent they are inconsistent with the document.

         16.     To the extent the allegations of paragraph 16 seeks to paraphrase or characterize

 the contents of written documents, the documents speak for themselves and Defendants deny the

 allegations to the extent they are inconsistent with the documents.

         17.     To the extent the allegations of paragraph 17 seek to paraphrase or characterize the

 contents of written documents, the documents speak for themselves and Defendants deny the

 allegations to the extent they are inconsistent with the documents.

         18.     Paragraph 18 asserts a legal conclusion to which no response is required. To the

 extent the allegations of paragraph 18 seek to paraphrase or characterize the contents of written
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 documents, the documents speak for themselves and Defendants deny the allegations to the extent

 they are inconsistent with the document.

        19.     Defendants deny having knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in paragraph 19 of the Adversary Complaint, and, on that

 basis, deny them.

        20.     Paragraph 20 asserts a legal conclusion to which no response is required. To the

 extent the allegations of paragraph 20 seek to paraphrase or characterize the contents of written

 documents, the documents speak for themselves and Defendants deny the allegations to the extent

 they are inconsistent with the document.

        21.     Defendants deny having knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in paragraph 21 of the Adversary Complaint, and, on that

 basis, denies them.

        22.     Paragraph 22 asserts a legal conclusion to which no response is required. To the

 extent the allegations of paragraph 22 seek to paraphrase or characterize the contents of written

 documents, the documents speak for themselves and Defendants deny the allegations to the extent

 they are inconsistent with the document.

    B. Defendants’ Representations Under the LPAs

        23.     Paragraph 23 asserts a legal conclusion to which no response is required. To the

 extent the allegations of paragraph 23 seek to paraphrase or characterize the contents of written

 documents, the documents speak for themselves and Defendants deny the allegations to the extent

 they are inconsistent with the document.
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        24.     To the extent the allegations of paragraph 24 seek to paraphrase or characterize the

 contents of written documents, the documents speak for themselves and Defendants deny the

 allegations to the extent they are inconsistent with the document.

        25.     To the extent the allegations of paragraph 25 seek to paraphrase or characterize the

 contents of written documents, the documents speak for themselves and Defendants deny the

 allegations to the extent they are inconsistent with the document.

        26.     To the extent the allegations of paragraph 26 seek to paraphrase or characterize the

 contents of written documents, the documents speak for themselves and Defendants deny the

 allegations to the extent they are inconsistent with the document.

        27.     To the extent the allegations of paragraph 27 seek to paraphrase or characterize the

 contents of written documents, the documents speak for themselves and Defendants deny the

 allegations to the extent they are inconsistent with the document.

        28.     Defendants deny having knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in paragraph 28 of the Adversary Complaint, and, on that

 basis, deny them.

    C. Defendants’ Indemnification Obligations Under the LPAs

        29.     To the extent the allegations of paragraph 29 seek to paraphrase or characterize the

 contents of a written document, the document speaks for itself and Defendants deny the allegations

 to the extent they are inconsistent with the document.

    D. LBHI’s Settlements with Fannie Mae and Freddie Mac

        30.     Defendants deny having knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in paragraph 30 of the Adversary Complaint, and, on that

 basis, deny them.
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        31.     Defendants deny having knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in paragraph 31 of the Adversary Complaint, and, on that

 basis, deny them.

        32.     Defendants deny having knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in paragraph 32 of the Adversary Complaint, and, on that

 basis, deny them.

        33.     Defendants deny having knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in paragraph 33 of the Adversary Complaint, and, on that

 basis, deny them.

        34.     Defendants deny having knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in paragraph 34 of the Adversary Complaint, and, on that

 basis, deny them.

        35.     Defendants deny having knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in paragraph 35 of the Adversary Complaint, and, on that

 basis, deny them.

        36.     Defendants deny having knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in paragraph 36 of the Adversary Complaint, and, on that

 basis, deny them.

        37.     Defendants deny having knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in paragraph 37 of the Adversary Complaint, and, on that

 basis, deny them.

        38.     Defendants admit that Exhibit B identifies purported defects as to identified loans.

 Defendants admit that Exhibit C identifies a general description of defects identified in Exhibit B.
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 Defendants deny having knowledge or information sufficient to form a belief as to the truth of the

 remaining allegations contained in paragraph 38 of the Adversary Complaint, and, on that basis,

 deny them.

        39.     Paragraph 39 contains legal conclusions to which no response is required. To the

 extent a response is required, Defendants deny the allegations of Paragraph 39.

    E. Defendants’ Obligations to Indemnify LBHI

        40.     To the extent the allegations of paragraph 26 seek to paraphrase or characterize the

 contents of a written document, the document speaks for itself and Defendants deny the allegations

 to the extent they are inconsistent with the document.

        41.     Defendants admit that LBHI demanded it indemnify LBHI and denies the

 remaining allegations to the extent they call for a legal conclusion to which no response is required.

        42.     Paragraph 42 contains legal conclusions to which no response is required.

        43.     Paragraph 43 contains legal conclusions to which no response is required. To the

 extent a response is required, Defendants deny the allegations.

        44.     Defendants deny having knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in paragraph 44 of the Adversary Complaint, and, on that

 basis, deny them.

    F. PMAC Lending’s Liability for PMC Bancorp’s Obligations and Liabilities

        45.     To the extent the allegations of paragraph 45 seek to paraphrase or characterize the

 contents of a written document, the document speaks for itself and Defendants deny the allegations

 to the extent they are inconsistent with the document.

        46.     Defendants deny the allegations contained in Paragraph 46.

        47.     Defendants deny the allegations contained in Paragraph 47.
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        48.     Defendants deny the allegations contained in Paragraph 48.

        49.     Defendants deny the allegations contained in Paragraph 49.

  (i)   PMC Bancorp Seeks to Escape Massive Contractual Exposure

        50.     Defendants admit the allegations contained in Paragraph 50.

        51.     Defendants admit the allegations contained in Paragraph 51.

        52.     Defendants admit the allegations contained in Paragraph 52.

        53.     Defendants admit the allegations contained in Paragraph 53.

        54.     Defendants admit the allegations contained in Paragraph 54.

        55.     Defendants deny the allegations of Paragraph 55.

        56.     Defendants admit the allegations of Paragraph 56.

        57.     Defendants admit the allegations of Paragraph 57.

        58.     Defendants deny the allegations of Paragraph 58.

        59.     Defendants deny the allegations of Paragraph 59.

        60.     Defendants deny the allegations of Paragraph 60.

        61.     Defendants deny the allegations of Paragraph 61.

        62.     Defendants deny the allegations of Paragraph 62.

        63.     Defendants admit the allegations of Paragraph 63.

 (ii)   PMC Bancorp-PMAC Lending Agreements Rendering PMAC Lending a Mere
        Continuation of PMC Bancorp and/or Giving Rise to a De Facto Merger Between the
        Two Entities

        64.     Defendants admit that William Park was the CEO of PMAC Lending.

        65.     Defendants admit that William Park and Ryan Kim were appointed to PMAC’s

 board of directors. Defendants deny the remainder of the allegations.
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         66.    To the extent the allegations of paragraph 66 seek to paraphrase or characterize the

 contents of a written document, the document speaks for itself and Defendants deny the allegations

 to the extent they are inconsistent with the document.

         67.    To the extent the allegations of paragraph 67 seek to paraphrase or characterize the

 contents of a written document, the document speaks for itself and Defendants deny the allegations

 to the extent they are inconsistent with the document.

         68.    Defendants deny the allegations of Paragraph 68.

         69.    Defendants deny the allegations of Paragraph 69.

         70.    Defendants deny the allegations of Paragraph 70.

         71.    Defendants admit that PMC Bancorp transferred servicing rights to PMAC but

 deny the remainder of the allegations of Paragraph 71.

         72.    Defendants deny the allegations of Paragraph 72.

         73.    Defendants deny the allegations of Paragraph 73.

         74.    Defendants deny the allegations of Paragraph 74.

 (iii)   The Re-making of PMAC Lending in PMC Bancorp’s Image

         75.    Defendants admit that certain PMC employees became employed by PMAC, but

 deny the remainder of the allegations of Paragraph 75.

         76.    Defendants deny the allegations of Paragraph 76.

         77.    Defendants admit the allegations of Paragraph 77.

         78.    Defendants deny the allegations of Paragraph 78.

         79.    Defendants deny the allegations of Paragraph 79.

 (iv)    The Center Bank Loan

         80.    Defendants admit the allegations of Paragraph 80.
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           81.    Defendants deny the allegations of Paragraph 81.

           82.    Defendants admit the allegations of Paragraph 82.

           83.    Defendants admit the allegations of Paragraph 83.

           84.    To the extent the allegations of paragraph 84 seek to paraphrase or characterize the

 contents of a written document, the document speaks for itself and Defendants deny the allegations

 to the extent they are inconsistent with the document.

  (v)      Unity of Ownership and Interests between PMC Bancorp and PMAC Lending Has
           Continued into the Present

           85.    Defendants deny the allegations of Paragraph 85.

           86.    Defendants deny the allegations of Paragraph 86.

 (vi)      Status of PMC Bancorp and PMAC Lending

           87.    Defendants admit that PMC Bancorp is no longer solvent, but deny the remainder

 of the allegations of Paragraph 87.

           88.    Defendants admit that William Park and PMAC Lending sold certain of PMAC

 Lending’s assets to Finance of America.

           89.    Defendants admit the allegations of Paragraph 89 but denies the date of July 2016.

        G. PMAC Lending’s Liability for Reliant’s Obligations and Liabilities

           90.    Paragraph 90 contains legal conclusions to which no response is required. To the

 extent a response is required, Defendants deny the allegations of Paragraph 90.

           91.    Defendants deny the allegations of Paragraph 91.

                                   FIRST CLAIM FOR RELIEF

                                   (Contractual Indemnification)

           92.    Defendant reincorporates their answers to LBHI’s allegations set forth above as if

 fully set forth herein.
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        93.     Paragraph 93 contains legal conclusions to which no response is required. To the

 extent a response is required, Defendants deny the allegations of Paragraph 93.

        94.     Paragraph 94 contains legal conclusions to which no response is required. To the

 extent a response is required, Defendants deny the allegations of Paragraph 94.

        95.     Paragraph 95 contains legal conclusions to which no response is required. To the

 extent a response is required, Defendants deny the allegations of Paragraph 95.

        96.     Paragraph 96 contains legal conclusions to which no response is required. To the

 extent a response is required, Defendants deny the allegations of Paragraph 96.

        97.     Paragraph 97 contains legal conclusions to which no response is required. To the

 extent a response is required, Defendants deny the allegations of Paragraph 97.

        98.     Paragraph 98 contains legal conclusions to which no response is required. To the

 extent a response is required, Defendants deny the allegations of Paragraph 98.

                                     PRAYER FOR RELIEF

        LBHI’s prayer for relief does not contain any allegations to which a response is required.

 To the extent a response is required, Defendants deny that LBHI is entitled to any of the relief

 sough in its prayer for relief and deny that LBHI is entitled to any relief whatsoever.

    A. That LBHI’s Adversary Complaint be dismissed with prejudice and judgment be entered

        in favor of Defendant;

    B. Defendants be awarded its reasonable costs and attorney’s fees, to the extent available;

    C. Defendants be awarded such other and further relief as the Court deems equitable and

        just.
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                                  AFFIRMATIVE DEFENSES

        Defendants allege each of the following affirmative defenses to each and every cause of

 action asserted against it and to each of the acts and/or omissions with which Defendant is charged

 in the Adversary Complaint. Defendants hereby allege the following affirmative defenses without

 assuming the burden of proof for such where the burden of defense is not by law upon Defendants.

                               FIRST AFFIRMATIVE DEFENSE

                               (Failure to State a Cause of Action)

        1.      The Adversary Complaint fails to state facts sufficient to constitute a cause of action

 against Defendants.

                             SECOND AFFIRMATIVE DEFENSE

                                             (Estoppel)

        2.      Defendants are informed and believe, and thereon allege, that the Adversary

 Complaint, and that each and every purported cause of action set forth therein, are barred by the

 doctrine of estoppel.

                               THIRD AFFIRMATIVE DEFENSE

                                           (Res Judicata)

        3.      Defendants are informed and believe, and thereon allege, that the Adversary

 Complaint, and that each and every purported cause of action set forth therein, are barred by the

 doctrine of res judicata.
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                             FOURTH AFFIRMATIVE DEFENSE

                                              (Waiver)

        4.      Defendant are informed and believe, and thereon allege, that the Adversary

 Complaint, and that each and every purported cause of action set forth therein, are barred by the

 doctrine of waiver.

                               FIFTH AFFIRMATIVE DEFENSE

                                              (Laches)

        5.      Defendants are informed and believe, and thereon allege, that the Adversary

 Complaint, and that each and every purported cause of action set forth therein, are barred by the

 doctrine of laches.

                               SIXTH AFFIRMATIVE DEFENSE

                                         (Unclean Hands)

        6.      Defendants are informed and believe, and thereon allege, that by virtue of the

 unlawful, careless, negligent, fraudulent, misrepresentative and/or wrongful conduct of Plaintiff,

 Plaintiff is barred from recovering against Defendants by the equitable doctrine of unclean hands.

                             SEVENTH AFFIRMATIVE DEFENSE

                                      (Speculative Damages)

        7.      To the extent that Plaintiff suffered any damages, Plaintiff’s recovery is barred or

 reduced, as such damages are uncertain or speculative so as to bar any recovery.

                              EIGHTH AFFIRMATIVE DEFENSE

                                           (Uncertainty)

        8.      Plaintiff’s Adversary Complaint, and each and every purported cause of action set

 forth therein, are barred because the claims purportedly asserted therein are uncertain.
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                                          of19
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                                 NINTH AFFIRMATIVE DEFENSE

                                        (Mitigation of Damages)

         9.        Plaintiff’s Adversary Complaint, and each and every purported cause of action set

  forth therein, are barred or reduced by Plaintiff’s failure to take any and all reasonable and

  necessary actions to avoid or reduce damages, and any alleged damages must be reduced

  accordingly.

                                 TENTH AFFIRMATIVE DEFENSE

                                          (Unjust Enrichment)

         10.       Defendants allege that Plaintiff would be unjustly enriched by recovering damages

 in this matter.

                              ELEVENTH AFFIRMATIVE DEFENSE

                                         (Statute of Limitations)

         11.       Plaintiff’s Adversary Complaint, and all causes of action alleged therein, are barred

 by the applicable statute of limitations.

                               TWELFTH AFFIRMATIVE DEFENSE

                                   (No Subject Matter Jurisdiction)

         12.       Plaintiff’s Adversary Complaint cannot establish subject matter jurisdiction, and

 thus Plaintiff is barred from recovery.

                             THIRTEENTH AFFIRMATIVE DEFENSE

                                              (Performance)

         13.       Plaintiff’s Adversary Complaint, and all causes of action alleged therein, are barred,

 in whole or in part, because Defendants fully performed and satisfied their obligations under the

 contracts.
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 16-01353-scc Doc
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                          FOURTEENTH AFFIRMATIVE DEFENSE

                                           (No Causation)

        14.     Plaintiff’s Adversary Complaint, and all causes of action alleged therein, are barred,

 in whole or in part, because the Adversary Complaint alleges no facts showing that any losses,

 damages, claims, or liability Plaintiff may have sustained was caused by Defendants’ alleged

 breaches.

                            FIFTEENTH AFFIRMATIVE DEFENSE

                                       (Third-Party Liability)

        15.     Plaintiff’s Adversary Complaint, and all causes of action alleged therein, are barred,

 in whole or in part, to the extent the actions that purportedly caused damage to Plaintiff were

 performed by third parties over whom Defendants are not responsible and which Defendants have

 no control.

                            SIXTEENTH AFFIRMATIVE DEFENSE

                                            (No Reliance)

        16.     Plaintiff’s Adversary Complaint, and all causes of action alleged therein, are barred,

 in whole or in part, because Plaintiff did not rely on the representations and warranties on which

 Plaintiff is suing, and to the extent Plaintiff relied on such representations and warranties,

 Plaintiff’s reliance was not reasonable or justified.

                          SEVENTEENTH AFFIRMATIVE DEFENSE

                               (Right to Raise Additional Defenses)

        17.     Defendants allege that Plaintiff failed to describe the causes of action with

 sufficient particularity so as to enable Defendants to determine all of their legal, contractual, and

 equitable rights. As such, Defendants reserve the right to amend and/or supplement the averments
16-01019-scc
 16-01353-scc Doc
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 of their Answer and Affirmative Defenses, and raise and assert all pertinent defenses ascertained

 through investigation, and after discovery has begun and additional facts and information become

 available.




 Dated: May 13, 2019
        Los Angeles, California                             Respectfully submitted,


                                                     By:    /s/ Amjad M. Khan

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                                                     Mortgage Company, LLC
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                                                     /s/ Amjad M. Khan
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